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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division




      TecSec,Incorporated,

                             Plaintiff,
                                                                 Civil Action No. l:10-cv-115
              V.                                                 Hon. Liam O'Grady

      Adobe Inc., et ah.

                             Defendants.


                                     MEMORANDUM OPINION

          This matter comes before the Court on Defendant Adobe Inc.'s Omnibus Motion for

  Judgment as a Matter of Law (Dkt. 1336). The Court heard oral argument and denied the motion

  during trial for the reasons stated from the bench and for good cause shown, and issued an Order

  to that effect. This Memorandum Opinion follows to more fully explain the Court's reasoning for

  denying the Motion from the bench.

      1. Induced Infringement of the Asserted Method Claims.

      Thejury heard evidence at trial that Mr. Landwehr authored a blog post for Adobe explaining

  how to use Adobe Acrobat for multilevel encryption. That blog post was uploaded to Adobe's

  website in 2009 and remained accessible during the relevant damages period. There was also

  sufficient evidence presented at trial for a reasonable jur>' to infer that at least one of Adobe's

  customers, Mr. Johnson, viewed the blog and used Adobe Acrobat to perform the asserted

  method claims during the damages period. As a result, there was enough circumstantial evidence

  that Adobe induced infringement of the asserted method claims for that issue to reach the jury.
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